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                                                                  kp7299/MP
 UNITED STATES BANKRUPTCY COURT                                   August 19, 2020
 SOUTHERN DISTRICT OF NEW YORK                                    2:00 PM
 ---------------------------------------------------------x
 IN RE:                                                           Case No. 15-23482-SHL-13

 DENNIS J. POOLE &                                                Hon. SEAN H. LANE
 SANDRA N POOLE,
                                                                  NOTICE OF MOTION
                                       Debtors.
 ---------------------------------------------------------x


                   PLEASE TAKE NOTICE, that upon the within application, Krista M. Preuss,
Chapter 13 Trustee, will move this court before the Hon. Sean H. Lane, U.S. Bankruptcy Judge,
at the United States Bankruptcy Court, at 300 Quarropas, White Plains, NY 10601-4150, on the
19th day of August, 2020 at 2:00 PM, or as soon thereafter as counsel can be heard, for an order
pursuant to 11 U.S.C. §1307(c) for cause, dismissing this Chapter 13 case and for such other and
further relief as may seem just and proper.


                    Responsive papers shall be filed with the bankruptcy court and served upon the
Chapter 13 Trustee, Krista M. Preuss, Esq., no later than seven (7) days prior to the hearing date
set forth above. Any responsive papers shall be in conformity with the Federal Rules of Civil
Procedure and indicate the entity submitting the response, the nature of the response and the
basis of the response.

Date: White Plains, New York
      July 27, 2020




                                                              s/ Krista M. Preuss
                                                              Krista M. Preuss, Chapter 13 Trustee
                                                              399 Knollwood Road, Ste 102
                                                              White Plains, NY 10603
                                                              (914) 328-6333
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                                                              kp7299/MP
 UNITED STATES BANKRUPTCY COURT                               August 19, 2020
 SOUTHERN DISTRICT OF NEW YORK                                2:00 PM
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 IN RE:                                                       Case No: 15-23482-SHL-13

 DENNIS J. POOLE &                                            Hon. SEAN H. LANE
 SANDRA N POOLE,
                                                              APPLICATION
                                       Debtors.
 ---------------------------------------------------------x

TO THE HONORABLE SEAN H. LANE, U.S. BANKRUPTCY JUDGE:

       KRISTA M. PREUSS, Chapter 13 Trustee in the above-captioned estate, respectfully
represents the following:

       1.    The Debtors commenced this Chapter 13 case by filing a voluntary petition
on October 9, 2015. Thereafter, KRISTA M. PREUSS was duly appointed and qualified as
Trustee.

         2.        The Chapter 13 Plan will expire as of October 2020; however, the Debtor has failed
to:
                   a. file with the Court a certification that all amounts payable under a domestic
                      support obligation have been paid as required by 11 U.S.C. §1328(a).

      3.       The deficiencies as stated above impede the Trustee’s ability to administer this
case and, therefore, is a default that is prejudicial to the rights of the creditors of the Debtor
pursuant to 11 U.S.C. §1307(c)(1).

      4.      The foregoing constitutes cause to dismiss this Chapter 13 case within the
meaning of 11 U.S.C. §1307(c).

       WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an order
dismissing this Chapter 13 case and such other and further relief as may seem just and proper.

 Date: July 27, 2020
       White Plains, New York
                                                                /s/ Krista M. Preuss
                                                                Krista M. Preuss, Chapter 13 Trustee
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x    Case No: 15-23482-SHL-13
IN RE:

 DENNIS J. POOLE &
 SANDRA N POOLE,
                                                               CERTIFICATE OF SERVICE
                                                                    BY MAIL
                                      Debtors.
----------------------------------------------------------x
                    This is to certify that I, Michelle Puma, have this day served a true, accurate and
correct copy of the within Notice of Motion and Application by depositing a true copy thereof
enclosed in a post-paid wrapper, in an official depository under the exclusive care and custody of
the U.S. Postal Service within New York State, addressed to each of the following persons at the
last known address set forth after each name:

DENNIS J. POOLE
17 CENTRAL DRIVE
NANUET, NY 10954

SANDRA N POOLE
17 CENTRAL DRIVE
NANUET, NY 10954

BENJAMIN M. ADAMS
ADAMS LAW GROUP, LLC
145 MAIN STREET, 2ND FLOOR
NYACK, NY 10960

HELFAND & HELFAND
350 FIFTH AVENUE
SUITE 5330
NEW YORK NEW YORK 10118

PRANALI DATTE, ESQ.
ATTORNEYS FOR WELLS FARGO BANK, N.A.
ONE OLD COUNTRY ROAD
SUITE 113
CARLE PLACE NEW YORK 11514

This July 27, 2020
s/Michelle Puma
Michelle Puma, Clerk
Office of the Standing Chapter 13 Trustee
Krista M. Preuss, Esq.
399 Knollwood Road, Suite 102
White Plains, NY 10603
(914) 328-6333
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CASE NO: 15-23482-SHL-13
Hon. SEAN H. LANE

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------------------------------------------------------------
IN RE:

DENNIS J. POOLE &
SANDRA N POOLE,

                                   Debtors.
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                     NOTICE OF MOTION AND APPLICATION TO DISMISS CASE

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                                        KRISTA M. PREUSS, TRUSTEE
                                       399 KNOLLWOOD ROAD, STE 102
                                           WHITE PLAINS, NY 10603
                                               (914) 328-6333
